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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESS
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sHARRoN BESSENT, W$lr in

Plaintiff,
NO. 04-2522-BV

'V'S.

DYERSBURG STATE, et al.,

Defendants.

 

SCHEDULING ORDER

 

This matter was referred to the United States Magistrate Judge
for a scheduling conference. Pursuant to the reference, a
scheduling conference was held August 25, 2005. Present were
Arthur F. Knight, III, counsel for plaintiff by phone, and Ross
Dyer for Bill Marrett, counsel for defendants. At the conference,
it was ordered that plaintiff's response to defendants' motion for
summary judgment is due two weeks after receipt of Dr. Boyer's
signed deposition. All other dates remain unchanged.

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to

respond by the time permitted by the Rules prior to that date.

A new pretrial order date, pretrial conference date, and trial
date will be set by the presiding judge.

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This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

AAW “/< &J@M

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE= Q,¢¢?/cw»f ,?é, 1005

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 34 in
case 2:04-CV-02522 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

William J. Marett

STATE ATTORNEY GENERAL'S OFFICE
P.O. Box 20207

Nashville, TN 37202--020

Arthur F. Knight

BECKER FLEISHMAN BROWN & KNIGHT P.C.
P.O. Box l 7 l 0

KnoX\/ille7 TN 37901--171

Honorable J. Breen
US DISTRICT COURT

